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 5                                                                CLERK U.S. BANKRUPTCY COURT
                                                                  Central District of California
                                                                  BY Ogier      DEPUTY CLERK
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                               UNITED STATES BANKRUPTCY COURT
 8
                                CENTRAL DISTRICT OF CALIFORNIA
 9
                                 SAN FERNANDO VALLEY DIVISION
10
     In re:                                          Case No.: 1:15-bk-11139-MB
11

12 SHAHEN MARTIROSIAN,                               Chapter 7

13                          Debtor.                  Adv. Proc. No. 1:16-ap-01091-MB
14
     VAZGEN KHACHATRYAN,
15
                                                     PRELIMINARY INJUNCTION
16            Plaintiff,
17                    vs.                            Hearings on O.S.C. re Issuance of Preliminary
                                                     Injunction
18 SHAHEN MARTIROSIAN, VIRGINIA
                                                     Date: February 1, 2017
   MARTIROSIAN, ANAHIT HARUTYUNYAN,                  Time: 1:30 p.m.
19 CPI REAL ESTATE GROUP, INC.
   dba REALTY EXECUTIVES PREMIERE                    Ctrm: 303
20 ESCROW DIVISION, 4705 EXCELENTE INC.,
   CITY NATIONAL FINANCE,                            Date: February 13, 2017
21                                                   Time: 1:30 p.m.
         Defendants.                                 Ctrm: 303
22

23                                                   Date: February 16, 2017
                                                     Time: 5:00 p.m.
24                                                   Ctrm: 303
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                                        PRELIMINARY INJUNCTION
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 1          TO DEFENDANT CITY NATIONAL FINANCE, INC.:

 2          On December 27, 2016, the Court conducted a hearing on the Emergency Motion for a

 3 Temporary Restraining Order Preventing City National Finance From Foreclosing on Property

 4 Commonly Known as 4705 Excelente, Woodland Hills, California (Dkt. 22, the “Emergency

 5 Motion”) filed by Plaintiff Vazgen Khachatryan (“Plaintiff”) after notice and service to the

 6 defendants in this Adversary Proceeding. On that same date the Court entered its Temporary

 7 Restraining Order, Order to Show Cause Regarding Issuance of a Preliminary Injunction, etc.

 8 (Dkt. 31, the “OSC re Preliminary Injunction”).

 9          On February 1, 2017 and February 13, 2017, the Court held evidentiary hearings on the

10 OSC re Preliminary Injunction. At the conclusion of those hearings, the Court continued the

11 hearing on the OSC re Preliminary Injunction to February 16, 2017 at 5:00 p.m. and extended the

12 TRO through and including February 16, 2017. Plaintiff was represented at the hearings by Alana

13 Anaya and Jonathan Malek. Defendants Shahen Martirosian, Virginia Martirosian, Anahit

14 Harutyunyan, CPI Real Estate Group, Inc. dba Realty Executives Premiere Escrow Division, and

15 4705 Excelente Inc. were collectively represented by Jilbert Tahmazian. Defendant City National

16 Finance was represented by Benjamin A. Yrungaray. Having considered the parties’ papers filed in

17 support of and in opposition to the Emergency Motion and the OSC re Preliminary Injunction, the

18 testimony of Plaintiff, Jamal N. Dawood of City National Finance, Defendants Shahen Martirosian,
19 Virginia Martirosian, Anahit Harutyunyan, and expert witnesses offered by Plaintiff and Defendant

20 City National Finance, the oral arguments of counsel as well as other pleadings and papers on file

21 in this Adversary Proceeding, as well as the main bankruptcy case, other good cause appearing, and

22 for the reasons stated on the record and to be set forth in greater deetail in the Court’s separate

23 Memorandum of Decision, IT IS HEREBY ORDERED that DEFENDANT CITY NATIONAL

24 FINANCE, as well as their officers, agents, servants, employees, and attorneys, and all other

25 persons or entities in concert or participation with any of them whether acting directly or through

26 any corporation or other entity, including without limitation, All American Foreclosure Service,
27 and any escrow company employed by City National Finance in connection with the real property

28 located at 4705 Excelente, Woodland Hills, California (the “Property”) are RESTRAINED AND

                                            PRELIMINARY INJUNCTION
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 1 ENJOINED pending trial of this Adversary Proceeding from foreclosing on, enforcing any deed of

 2 trust against, or facilitating the transfer of the Property. This Preliminary Injunction is effective

 3 without the Plaintiff filing an undertaking for the reasons stated on the record and to be set forth in

 4 greater detail in the Court’s separate Memorandum of Decision

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23   Date: February 16, 2017
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                                            PRELIMINARY INJUNCTION
